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                IN THE UNITED STATES COURT OF FEDERAL CLAIMS

 AECOM ENERGY & CONSTRUCTION,
 INC.,

                         Plaintiff,
                                                    Case No. 20-2016 C
                 v.

 THE UNITED STATES OF AMERICA,

                         Defendant.



                      CONSENT MOTION TO UPDATE PARTY NAME

       Plaintiff AECOM Energy & Construction, Inc. hereby notifies the Court that its name has

changed to Amentum Environment & Energy, Inc. and respectfully moves this Court to update

the docket to reflect this name change:

       1. In 2020, AECOM sold its management services business (including Plaintiff

AECOM Energy & Construction, Inc.), which was rebranded as Amentum.

       2. AECOM Energy & Construction, Inc. commenced this action on December 29, 2020.

       3. Then, in 2021, AECOM Energy & Construction, Inc. changed its name to Amentum

Environment & Energy, Inc., as reflected in the document attached hereto as Exhibit A.

           Accordingly, the name of the Plaintiff in this action should be updated to reflect the

new name, Amentum Environment & Energy, Inc. Plaintiff represents that Defendant consents

to the relief sought in this motion.




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November 26, 2024                       Respectfully submitted,

                                        /s/ Charles C. Speth
                                        CHARLES C. SPETH, Counsel of Record
                                        WILMER CUTLER PICKERING
                                          HALE AND DORR LLP
                                        2100 Pennsylvania Avenue N.W.
                                        Washington, D.C. 20037
                                        Telephone: (202) 663-6000
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                                        Counsel for Plaintiff




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                         EXHIBIT A
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                             UNITED STATES OF AMERICA,
                                 STATE OF OHIO,
                            OFFICE OF SECRETARY OF STATE
I, Frank LaRose, Secretary of State of the State of Ohio, do hereby certify
that the paper to which this is attached is a true and correct copy from the original
record now in my official custody as Secretary of State.
                                                  Witness my hand and the seal of the
                                                  Secretary of State at Columbus, Ohio this
                                                  28th day of December, A.D. 2021.
                                                        Ohio Secretary of State




                             Validation Number:
                              202136202226
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Form 540 Prescribed by:

                                                   Toll Free: 877.767.3453 | Central Ohio: 614.466.3910
                                                   OhioSoS.gov | business@OhioSoS.gov
                                                   File online or for more information: OhioBusinessCentral.gov




                                        Certificate of Amendment
                                       (For-Profit, Domestic Corporation)
                                                 Filing Fee: $50
                                                    Form Must Be Typed


Check appropriate box:

       Amendment to existing Articles of Incorporation (125-AMDS)
       Amended and Restated Articles (122-AMAP) - The following articles supersede the existing articles and all amendments thereto.



Complete the following information:


    Name of Corporation AECOM ENERGY & CONSTRUCTION, INC.



    Charter Number         171108



Check one box below and provide information as required:

    The articles are hereby amended by the Incorporators. Pursuant to Ohio Revised Code section 1701.70
    (A), incorporators may adopt an amendment to the articles by a writing signed by them if initial directors
    are not named in the articles or elected and before subscriptions to shares have been received.



    The articles are hereby amended by the Directors. Pursuant to Ohio Revised Code section 1701.70(A),
    directors may adopt amendments if initial directors were named in articles or elected, but subscriptions to
    shares have not been received. Also, Ohio Revised Code section 1701.70(B) sets forth additional cases
    in which directors may adopt an amendment to the articles.


            The resolution was adopted pursuant to Ohio Revised Code section 1701.70(B)
            (In this space insert the number 1 through 10 to provide basis for adoption.)



   The articles are hereby amended by the Shareholders pursuant to Ohio Revised Code section 1701.71.



   The articles are hereby amended and restated pursuant to Ohio Revised Code section 1701.72.


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If you are amending the total number of shares, please complete this box so the appropriate filing fee is
charged.

   Total number of shares previously listed in the Articles or other Amendments with the Ohio Secretary of State:

   With the submission of this amendment, NEW total number of shares:

A copy of the resolution of amendment is attached to this document.

Note: If amended articles were adopted, they must set forth all provisions required in original articles except that
articles amended by directors or shareholders need not contain any statement with respect to initial stated capital.
See Ohio Revised Code section 1701.04 for required provisions.




 By signing and submitting this form to the Ohio Secretary of State, the undersigned hereby certifies that he or she
 has the requisite authority to execute this document.

 Required
                                             Amentum Nuclear & Environment Holdings, Inc.
 Must be signed by all                       Signature
 incorporators, if amended by
 incorporators, or an authorized             Mark Esposito
 officer if amended by directors or
 shareholders, pursuant to Ohio              By (if applicable)
 Revised Code section 1701.73(B)
 and (C).
                                             Mark Esposito, VP & Asst. Secretary
 If authorized representative                Print Name
 is an individual, then they
 must sign in the "signature"
 box and print their name
 in the "Print Name" box.
                                             Signature
 If authorized representative
 is a business entity, not an
 individual, then please print
 the business name in the
                                             By (if applicable)
 "signature" box, an
 authorized representative
 of the business entity
 must sign in the "By" box
 and print their name in the                 Print Name
 "Print Name" box.




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